                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                              )   Chapter 11
                                                    )
TWC Liquidation Trust, LLC,1                        )   Case No. 18-10601 (MFW)
                                                    )
                 Debtor.                            )   Hearing Date: July 27, 2022 at 10:30 a.m.
                                                    )   Objection Deadline: July 20, 2022 at 4:00 p.m. (ET)
                                                    )

          NOTICE OF LIQUIDATION TRUSTEE’S OBJECTION TO THE CLAIM
                  OF WANDA PICTURES (HONG KONG) CO., LTD.

         PLEASE TAKE NOTICE, on June 16, 2022, Dean A. Ziehl (the “Liquidation Trustee”),
 solely in his capacity as Liquidation Trustee of the TWC Liquidation Trust formed pursuant to the
 Fifth Amended Joint Chapter 11 Plan of Liquidation of The Weinstein Company Holdings LLC
 and its affiliated debtors (collectively, the “Debtors”) filed the attached Liquidation Trustee’s
 Objection To The Claim of Wanda Pictures (Hong Kong) Co., Ltd. (the “Objection”) with the
 United States Bankruptcy Court for the District of Delaware (the “Court”), objecting to your claim
 in these bankruptcy cases. Substantive rights may be affected. Your claim may be reclassified
 as a result of the Objection. Therefore, you should read the Objection carefully. If you do
 not want the Court to reclassify your claim as requested in the Objection, then you or your attorney
 must (i) file a written response (a “Response”) to the Objection with the Court, as set forth in the
 Objection, and (ii) serve the Response so that it is actually received by the undersigned counsel
 to the Liquidation Trustee on or before July 20, 2022 at 4:00 p.m. (ET).

         PLEASE TAKE FURTHER NOTICE that if no Response to the Objection is timely
 filed, served, and received in accordance with the above procedures, an order may be entered
 granting the relief requested in the Objection without further notice or hearing. If a Response to
 the Objection is timely filed, served and received in accordance with the above procedures, a
 hearing on the Objection and the Response will be held before The Honorable Mary F. Walrath,
 United States Bankruptcy Judge, at the Court, 824 North Market Street, 5th Floor, Courtroom 4,
 Wilmington, Delaware 19801 on July 27, 2022 at 10:30 a.m. (the “Hearing”). Only a
 Response made in writing and timely filed and received will be considered by the Court at the
 Hearing.

      IF YOU FAIL TO FILE A RESPONSE IN ACCORDANCE WITH THIS NOTICE,
 THE COURT MAY GRANT THE RELIEF REQUESTED IN THE FIRST OMNIBUS
 OBJECTION WITHOUT FURTHER NOTICE OR HEARING.




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     The mailing address for TWC Liquidation Trust, LLC is c/o Dean Ziehl, Pachulski Stang Ziehl & Jones LLP,
     10100 Santa Monica Blvd., 13th Floor, Los Angeles, CA 90067.


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Date: June 16, 2022
                             PACHULSKI STANG ZIEHL & JONES LLP

                             /s/ Colin R. Robinson
                             Andrew W. Caine (admitted pro hac vice)
                             Jason H. Rosell (admitted pro hac vice)
                             Colin R. Robinson (DE Bar No. 5524)
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                             Attorneys for Dean A. Ziehl, solely in his capacity
                             as Liquidation Trustee of the TWC Liquidation
                             Trust




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